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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF TEXAS
                                 WACO DIVISION



  SYNKLOUD TECHNOLOGIES, LLC,

                  PLAINTIFF,
                                                    Civil Action No. 6:19-cv-00525-ADA
         v.

  DROPBOX, INC.,
                                                    JURY TRIAL DEMANDED
                  DEFENDANT.




                       ORDER OF DISMISSAL WITH PREJUDICE

       Before the Court is Plaintiff SynKloud Technologies, LLC and Defendant Dropbox, Inc.’s

Stipulated Motion for Dismissal With Prejudice (the “Motion”). Having considered the same, this

Court finds that the Motion should and hereby is GRANTED.

       It is therefore ORDERED AND ADJUDGED that this action is DISMISSED WITH

PREJUDICE. The Clerk shall mark this case CLOSED. All parties shall bear their own attorneys’

fees and costs.

                     6th day of _________,
       SIGNED THIS _____          June     2022.

                                           _______________________________________
                                           ALAN D. ALBRIGHT
                                           UNITED STATES DISTRICT JUDGE
